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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                  WESTERN DISTRICT OF LOUISIANA, MONROE DIVISION

   PHILLIP CALLAIS, LLOYD PRICE,
   BRUCE ODELL, ELIZABETH ERSOFF,
   ALBERT CAISSIE, DANIEL WEIR,
   JOYCE LACOUR, CANDY CARROLL
   PEAVY, TANYA WHITNEY, MIKE
   JOHNSON, GROVER JOSEPH REES,                        Civil Action No. 3:24-cv-00122
   ROLFE MCCOLLISTER,
                                                       Judge David C. Joseph
   Plaintiffs,
                                                       Circuit Judge Carl E. Stewart
   v.
                                                       Judge Robert R. Summerhays
    NANCY LANDRY, in her official capacity
    as Secretary of State for Louisiana,

   Defendant.



   I, Stuart C. Naifeh, declare as follows:

        1. I am an attorney at the NAACP Legal Defense & Educational Fund, Inc.

        2. I represent Press Robinson, Edgar Cage, Dorothy Nairne, Edwin Rene Soule, Alice

           Washington, Clee Earnest Lowe, Davante Lewis, Martha Davis, Ambrose Sims, National

           Association for the Advancement of Colored People Louisiana State Conference

           (“Louisiana NAACP”), and Power Coalition for Equity and Justice (collectively, the

           Robinson Intervenors) in the above-captioned litigation.

        3. After Robinson Intervenors filed their Motion to Intervene in this case, the Court issued an

           order instructing the Plaintiffs to contact the parties and propose a schedule for resolving

           the motion to intervene and Plaintiffs’ pending motion for a preliminary injunction.

           Plaintiffs failed to contact the Robinson Intervenors about setting a briefing schedule on
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        the Motion to Intervene or the Motion for Preliminary Injunction. Although the Robinson

        Intervenors were not in a technical sense “parties” at that stage of the case, Plaintiffs failure

        to consult them on the briefing schedule meant that Robinson Intervenors never had an

        opportunity to contest the expedited schedule or the request to consolidate the preliminary

        injunction and the trial or to propose an alternative schedule before the court ruled on the

        motions.

     4. On or about March 7, 2024 – after being granted intervention in the remedial stage of the

        case – I emailed counsel for all parties and requested that they provide any discovery

        requests or responses and any initial disclosures that had been served to date and to serve

        any subsequent discovery on Robinson Intervenors. I explained that although our role was

        limited, we were now parties to the litigation and entitled to participate in discovery.

        Plaintiffs’ counsel Edward Greim responded, assuring me that any discovery would be

        served on Robinson Intervenors when it was served on the other parties, leaving the

        impression that discovery had not yet commenced in the case. Mr. Greim did not contest

        my assertion that Robinson Intervenors were entitled to participate in discovery or in any

        way suggest that he believed Plaintiffs were entitled to withhold discovery requests that

        had already been served on other parties.

     5. Subsequently, on or about March 18, 2024, when counsel for the Secretary of State served

        responses to a set of discovery requests from the Plaintiffs on all parties, including the

        Robinson Intervenors, I learned for the first time that discovery was ongoing and that

        Plaintiffs had not, despite their assurances, provided discovery that had already been served

        in this litigation.
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     6. On about March 22, 2024, the Robinson Intervenors served notice that they intended to

        take the deposition of one of the plaintiffs, Rolfe McCollister, the following Thursday,

        March 28, 2024. This date was selected to enable Robinson Intervenors to offer any

        admissions obtained in the deposition at trial through deposition designations. In email

        correspondence and during a meet and confer on or about March 23, 2024, Mr. Greim

        refused to make Mr. McCollister available. Later, in an email on or about March 28, 2024,

        during negotiations over depositions Mr. Greim wished to take of some of the Robinson

        Intervenors, Mr. Greim indicated that he “was open to” making Mr. McCollister available

        but only on April 1, 2024, the day deposition designations were due. Given that a deposition

        taken on that date would be useless to Robinson Intervenors unless they wished to use some

        of their limited trial time to call Mr. McCollister as a hostile witness, Robinson Intervenors

        withdrew the deposition notice.

     7. Also on or about March 22, 2024, Plaintiffs served their expert reports on the Robinson

        Intervenors. Of the three expert reports Plaintiffs disclosed on March 22, 2024, two were

        from experts Plaintiffs were disclosing for the first time and had not relied on in support of

        their Motion for a Preliminary injunction, and the report from the expert who had

        previously provided a report included additional opinions. Robinson Intervenors had only

        3 business days to respond to these reports.

     8. Upon reviewing the reliance materials served along with those reports, Plaintiffs

        discovered that some of the code data relied upon by Plaintiffs’ expert Dr. Stephen Voss

        was missing. That material was not provided until the evening of March 25, 2022.

     9. On or about March 28, 2024, I served notices of deposition for each of Plaintiffs’ three

        experts, to be taken during the week of April 1, 2024 for 4 hours each. In an email dated
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          March 28, 2024, Mr. Greim responded that he would make the experts available, but only

          for two hours each. In turn, Mr. Greim wished to depose each of Robinson Intervenors’

          three experts for two hours apiece and each of their fact witnesses for 90 minutes each. In

          the end, Mr. Greim would only agree to three-hour depositions of Plaintiffs’ experts, despite

          the technically complex opinions they were offering and the limited trial time available to

          explore those opinions on cross examination.

      10. On April 1, 2024, Plaintiffs served three additional expert reports including a report by a

          new expert, Dr. Ben Overholt. On April 4, 2024, during his deposition, Dr. Overholt

          revealed that he had relied on code to conduct his analysis that Plaintiffs’ counsel had failed

          to turn over along with his report. Plaintiffs’ counsel sent that code to Robinson Intervenor’s

          counsel on April 5, 2024, the Friday before trial is set to commence.

   I declare under penalty of perjury that the foregoing is true and correct.


   Executed on this 6th of April 2024.


                                                                                /s/ Stuart Naifeh
                                                                                 Stuart Naifeh
